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                     IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,

                v.                                  MISC NO. 1:14111c- '3$10-WkiA)

FAMILY DOLLAR
DISTRIBUTION CENTER,
MARIANNA,FL,

                       Garnishee,

RODERICK NEAL,

                       Defendant.


                                     WRIT OF GARMSHMENT

GREETINGS TO:          FAMILY DOLLAR DISTRIBUTION CENTER
                       3949 FAMILY DOLLAR PARKWAY
                       MARIANNA,FL 32448

       An Application for a Writ of Garnishment against the property of Roderick Neal,

defendant, has been filed with this Court. A Judgment has been entered against the above-named

defendant in the amount of $109,680.00, plus costs. The balance due on the Judgment as of

August 13,2019 is $108,980.00.

       You are required by law to answer in writing, under oath, within ten (10)days, whether-

or-not you have in your custody, control or possession of any property owned by the debtor,

including non-exempt, disposal earnings.

       Please .state whether-or-not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.
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       You must file the original written Answer to this Writ within ten110) days of your

receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,

Middle District of Alabama,One Church Street,Suite B-110,Montgomery,Alabatha 36104.

Additionally, you are required by law to serve .a copy of your Answer upon the debtor at:

504 W. Newton Street, Dothan, Alabama,36303 and upon the United States Attorney, Post

Office Box 197, Montgomery,Alabama 36101.

       Under the law,there is property, which is exempt from this Writ ofGarnishment. Property

which is exempt and, which is not subject to this Order is listed on the attached Debt Collection

Notice.

       Pursuant to Title 15 U.S.C.§1674,a Garnishee is prohibited from discharging a defendant

from employment by-reason-of the fact that his earnings have been subject to garnishment.

       If you fail to answer this Writ or to withhold property in accordance with this Writ, the

United States of America may petition the Court for an Order reqUiting you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with this Writ,the Court rnay enter a Judgment against you for the value ofthe debtor's non-exempt

property. It is unlawful to pay or deliver to the defendant any item attached by this Writ.

                                               Dom P.Oackett
                                             UNITED STATES DISTRICT CLERK
                                                       Gimola Latgai,-‘-
